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                                   UNITED STATES DISTRICT COURT
                                        DISTRICT OF MAINE

SADIYA ALI, on behalf of A.I., a A.I.,                  *
        Plaintiff                                       *
v.                                                      *
                                                        *
LONG CREEK YOUTH DEVELOPMENT                            *
CENTER, MAINE DEPARTMENT OF                             *
CORRECTIONS, JOSEPH                                     *
FITZPATRICK, Commissioner of Maine                      *
Department of Corrections; CAROLINE                     *    2:18-CV-00109-JAW
RAYMOND, Superintendent of Long                         *
Creek Youth Development Center;                         *
MICHAEL A. MULLIN, Corrections                          *
officer at Long Creek Youth Development                 *
Center; DANIEL A. FERRANTE,                             *
Corrections officer at Long Creak Youth                 *
Development Center; CORRECT CARE                        *
SOLUTIONS, LLC, medical care provider                   *
at Long Creek Youth Development Center,                 *
                                                        *
                Defendants                              *

                        CONSENT REQUEST FOR APPROVAL OF SETTLEMENT

           NOW COMES Plaintiff, Sadiya Ali, on behalf of her minor child, A.I., under oath, and

respectfully moves that this Honorable Court approve the settlement on behalf of a minor

pursuant to Local Rule 41.2. Counsel for the Plaintiff has consulted with counsel for the Long

Creek Youth Development Center (“Long Creek”), the Commissioner of the Maine Department

of Corrections (“DOC”), the Superintendent of Long Creek, and individual officers Michael

Mullin and Daniel Ferrante (collectively, “the State Defendants”); as well as counsel for Correct

Care Solutions (“CCS”), 1 each of whom consent to the relief requested in this motion.




1
    Correct Care Solutions is now doing business as Wellpath. For simplicity, this motion continues to refer to this
    company as Correct Care Solutions or CCS.
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        1.      This lawsuit arises from A.I.’s detention at Long Creek in 2017 2, and alleges

constitutional and statutory violations by the State Defendants; as well as deliberately indifferent

medical care by CCS.

        2.      On March 14, 2018, A.I., through his parent and next friend Sadiya Ali, filed a

complaint pursuing the following legal claims in Federal court:

                a. Excessive force against a pretrial detainee in violation of the Fourteenth

                    Amendment, against Officers Mullin and Ferrante (and related claims);

                b. Discrimination against A.I. because of his disability in violation of the

                    Americans with Disabilities Act, against Long Creek and DOC officials;

                c. Deliberately indifferent medical care in violation of the Fourteenth

                    Amendment, by CCS. See generally Compl., ECF No. 1 (Mar. 14, 2019).

        3.      Plaintiff alleges the following in support of her claims. The allegations set forth

below are largely disputed by both the State and CCS Defendants

                a. On July 26, 2017, when A.I. was only 11 years old, Long Creek officers

                    forced his head into a bare metal bedframe and knocked out his two front

                    teeth. In the lead-up to this event, Long Creek administrators and medical

                    providers disregarded policies governing treatment and accommodations for

                    youth with disabilities, including youth with psychiatric disabilities. See

                    Policy Nos. 13.5, 13.6, 13.12, 14.3. Among other things, these policies require

                    DOC to provide a treatment plan for any youth with disabilities to address

                    adaptation to the correctional environment, medication, exercise, and other

                    accommodations. However, Long Creek and its medical providers failed to

2
  Plaintiff A.I. was born in 2005 and was 11 years old at the time the incident occurred. A.I. has never been
adjudicated of any juvenile offense and all pending juvenile charges against him have been dismissed.



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                   provide medication or other therapeutic accommodations for A.I., instead

                   isolating or disciplining A.I. for behaviors arising from his disability in the

                   lead-up to the July 26, 2017 incident.

               b. On July 26, 2017, Long Creek officials locked A.I. in his cell as part of a

                   time-out. When A.I. said he would “pop” the sprinkler in his cell, Long Creek

                   staff sent two officers into A.I.’s room to remove all of his belongings. After

                   the officers removed A.I.’s mattress, they imposed a restraint and forced A.I.’s

                   head into a bare metal bed frame. The impact knocked out A.I.’s two front

                   teeth—an event that caused both physical injury and emotional and mental

                   trauma. Afterwards, the officers found one of A.I.’s front teeth on the floor of

                   his cell. Long Creek staff and medical providers delayed urgent care by taking

                   the time to shackle this 11-year-old for his trip to the hospital. A.I. did not see

                   a dentist until six days after the incident, by which time it was far too late to

                   re-implant A.I.’s recovered tooth.

               c. As a consequence of this incident, A.I. sustained physical injuries and

                   significant emotional injuries. His medical bills for the emergency room visit

                   and three outpatient dental visits total $1,489. These bills were paid under

                   A.I.’s MaineCare benefits and the Treasurer for the State of Maine will need

                   to be reimbursed $480.73 for related treatment upon settlement.

       2.      The State Defendants and CCS have raised several defenses that they contend

would entitle them to summary judgment in this case. See State Defs.’ Pre-Filing Conference

Mem., ECF No. 85 (July 15, 2019); CCS Pre-Filing Conference Mem., ECF No. 86 (July 15,

2019). Specifically, the State Defendants contend, in relevant part, as follows:




                                                 3
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        4.     In reaching this settlement, the undersigned attorneys represented A.I., through

his parent and next friend Sadiya Ali. It is the opinion of Sadiya Ali that accepting the settlement

to resolve A.I.’s claims is in the best interests of A.I., and that the proposed settlement is fair and

just.

        5.     If this application is approved by the Court, most of the funds—                 —will

be allocated for the exclusive benefit of A.I. $50,000 will be deducted from the total to cover

attorney fees and expenses and to reimburse the State of Maine Medicaid system (MaineCare)

for payment of medical bills. The amounts deducted from the total settlement will be expended

as follows:

        Deducted Costs:

        Costs of Creating Special Needs Trust

               Nelson-Reade Law Office, P.C.                            4,430.00

        Reimbursement for litigation expenses on depositions, interpreter costs,
        and other miscellaneous litigation expenses, paid by Berman &
        Simmons and the American Civil Liberties Union of Maine

               Berman & Simmons                                        21,085.42
               American Civil Liberties Union of Maine                 10,707.62

        Attorney fees

               American Civil Liberties Union of Maine                 13,296.23

        Maine Care Lien                                                   480.73

        Total deducted                                                 50,000.00

        6.     These deductions are reasonable. The majority of the deductions are to reimburse

litigation costs and expenses paid out of pocket by Berman & Simmons and the ACLU of Maine,

who are co-counsel representing the Plaintiff. Costs include filing fees, expert fees, interpreter

fees, deposition transcripts, travel costs, and more. The amount paid to Nelson-Reade Law



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Office, P.C. to create the special needs trust is also reasonable and consistent with prevailing

rates for this specialized area of law. Finally, approximately $13,000—totaling less than

percent of the settlement amount—will be deducted as attorney fees to the ACLU of Maine. This

amount is reasonable in light of the hundreds of hours expended by counsel for the Plaintiff,

amounting to more than $250,000 at counsel’s billable rates, which were provided at no cost to

the Plaintiff. Furthermore, the total settlement amount incorporated the Plaintiff’s sizable claim

for attorney fees, to which prevailing plaintiffs may be entitled under 42 U.S.C. §§ 1988, 12205.

Attorney fees recovered by the ACLU of Maine will be used to pursue legal relief for other civil

rights violations. The law firm of Berman and Simmons is taking no attorney fees and supplied

all legal services pro bono.

          7.      The remaining settlement amount of                    will be for the exclusive use and

benefit of A.I., and will be used to fund a special needs trust, a draft of which is attached to this

application as Exhibit A. 3 Portland Trust Company, located in Portland, Maine, will serve as the

Independent Trustee, and will have discretion to distribute funds in accordance with the terms of

the trust, for the sole benefit of A.I.

          8.      If this application is approved by the Court, the funds in the special needs trust

will be invested in an account managed by Portland Trust Company. This account will be

managed in a conservative manner that will minimize risk to principal, consistent with the

approach used by financial fiduciaries as governed by the State of Maine statutes and prudent

investor guidelines. The investment decisions with regard to this account will be tailored to

A.I.’s age and designed to achieve appropriate yields while minimizing risk.




3
    Exhibit A has been redacted to remove references to A.I.’s full name.



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        9.     The proposed settlement and allocation of resources is intended to provide A.I.

with the greatest long-term benefit. The funds in the trust will be managed by the Portland Trust

Company, which will act as the institutional trustee. Portland Trust Company has developed a

specialty in the management and administration of supplemental care trusts and is currently

acting as Trustee and managing assets for a number of trusts of comparable size and complexity.

        10.    Sadiya Ali states that she has been informed of her right to request an in-person

hearing on the motion for approval of settlement of this claim and she states that she does not

wish to request such a hearing, being satisfied with the terms and conditions of the settlement

described in this motion, which she has had orally translated to her and which she signs under

oath.

        11.    Sadiya Ali’s primary language is Somali. By signing below, Ms. Ali confirms that

this motion was orally translated for her and that she understands and agrees to the

representations and requests in this Agreement.

        12.    Plaintiff now seeks approval of: (1) the proposed settlement; (2) the establishment

of the special needs trust; and (3) the investment and management of the funds allocated to A.I.

        WHEREFORE, Plaintiff respectfully applies to this Honorable Court to approve this

proposed settlement.




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December 6, 2019                    /s/ Sadiya Ali
Date                                Sadiya Ali, Individually and as Parent and Next Friend
                                    of A.I.


STATE OF MAINE
CUMBERLAND, SS.

Personally appeared the above-named Sadiya Ali, known to me, this 6th day of December
2019, and swore the above statement to be true, and based on her personal knowledge, except
where stated to be on information and belief, in which case, she believes the statements true.

                                    Before me,

                                    /s/ Alison Beyea, Esq.
                                    NOTARY PUBLIC
                                    Alison Beyea, Esq.
                                    Bar No. 8613




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                   CERTIFICATION OF TRANSLATION ACCURACY

         Oral Translation of Motion for Approval of Settlement from English to Somali.

I, Abdimajid Sharif, a qualified court interpreter, hereby certify that the above-mentioned Motion
has been orally translated to Sadiya Ali, and that, in my best judgment, the oral translation
represents a true and correct translation of the Motion.

December 6, 2019                     /s/ Abdimajid Sharif
Date                                 Abdimajid Sharif
                                     Court Interpreter

STATE OF MAINE
CUMBERLAND, SS.

Personally appeared the above-named Abdimajid Sharif, known to me, this 6th day of December
2019, and swore the above statement to be true.

                                     Before me,

                                     /s/ Alison Beyea, Esq.
                                     NOTARY PUBLIC
                                     Alison Beyea, Esq.
                                     Bar No. 8613




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Respectfully submitted,


                                           /s/ Zachary L. Heiden
                                           Zachary L. Heiden
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                                           /s/ Jodi L. Nofsinger
                                           Jodi L. Nofsinger
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                                           Attorneys for Plaintiff, Sadiya Ali on
                                           behalf of A.I., a minor

                                           December 9, 2019




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 9, 2019, I electronically filed the CONSENT MOTION

FOR APPROVAL OF MINOR SETTLEMENT with the Clerk of Court using the CM/ECF

system which will send notification of such filing to all counsel of record.

                                               /s/ Zachary L. Heiden
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